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UN|TED STATES D|STR|CT COURT
SOUTHERN D|STR|CT OF TEXAS
HOUSTON D|VlS|ON
ARLEEN SANCHEZ
VS.

NOAH’S TRANSPORT, L.L.C., and
JUAN GOMEZ

C.A. NO.

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NOT|CE OF REMOVAL
TO THE HONORABLE JUDGE OF SA|D COURT:

1. Pursuant to Fed. R. Civ. P. 81(C), 28 U.S.C. §§ 1441 and 1446, Defendant
Noah’s Transport, L.L.C. (herein “Noah’s Transport”), files this Notice of Removal. The

grounds for removal are as fo||oWs:

introduction

2. This action Was commenced in the 133rd Judicia| District Court of Harris County,
Texas, Where it is now pending as Cause No. 2015-60723. A copy of Plaintiff’s Original
Petition setting forth the claims for relief on Which the action is based Was first received
by Noah’s Transport on November16, 2015. Noah’s Transport timely files this Notice of
Remova| Within the thirty (30) day time period required by 28 U.S.C. §1446(b).
3. Defendant Juan Gomez (“Gomez”) has been served With a copy of P|aintiff’s
Origina| Petition by the office of the Texas Transportation Commission and joins this
removal.
4. Defendants fi|ed a General Denial on December 7, 2015.

Nature of the Suit

5. This is an action for damages for personal injuries allegedly received as a result

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of a motor vehicle collision that occurred on or about January 24, 2014, in Harris
County, Texas.
6. P|aintiff has alleged claims of negligence, negligence per se and negligent
entrustment against Noah’s Transport the owner/operator of the vehicle that hit
Plaintiff’s vehicle and Juan Gomez, Noah Transport’s driver.
Parties

7. Upon information and belief, Plaintiff is, and was at the time this action was
commenced, a citizen and resident of the State of Texas. See Plaintiff’s Original Petition
at 11 2.
8. Noah’s Transport is a citizen of Kansas. Noah’s Transport is a limited liability
company registered in the State of Kansas, having its principal place of business in the
State of Kansas.
9. Juan Gomez is a citizen and resident of the State of Kansas.

Basis for Removal
10. Removal is proper because there is diversity between the parties. This action
could have been brought on the basis of diversity citizenship among the parties
because: (a) Plaintiff is and was at the time the suit was filed a resident and citizen of
Texas; (b) Defendant Noah’s Transport is an entity organized under the laws of Kansas,
with its principal offices in Wichita, Kansas; (c) Defendant Gomez is a resident and
citizen of Kansas; and (d) the amount in controversy exceeds $75,000.00, exclusive of
interest and costs_ See 28 U.S.C. § 1332(a).
11. Removal is proper under federal law since this is a civil action brought in state

court over which the federal court has original jurisdiction based on diversity of

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citizenship. See 28 U.S.C. § 1441.
12. A notice of removal to federal court must be filed within thirty (30) days after the
defendant receives the original complaint. See 28 U.S.C. § 1446(b). “When service is
effected on a statutory agent, the removal period begins when the defendant actually
receives the process, not when the statutory agent receives process.” Monterey
Mushrooms, /nc. v. Ha//, 14 F.Supp.2d 988, 991 (S.D.Tex.1998) (Lake, J). Noah’s
Transport received process under the “mailbox rule” when the Secretary of State for
Texas deposited it in the mail, namely November 16, 2015. Accordingly removal is
timely. 28 U.S.C. § 1446(b).
Amount in Controversy

13. This is a personal injury suit in which Plaintiff is seeking actual damages of over
$200,000.00 but not more than $1,000,000.00. See Plaintiff’s Original Petition at 11 10.
Thus the amount in controversy exceeds $75,000.00. Pursuant to 28 U.S.C. § 1332,
the United States District Court for the Southern District of Texas has jurisdiction over
this action, since it is between citizens and a corporation of different States and the
amount in controversy exceeds the sum or value of $75,000.00.

Notice of Removal is Procedurally Correct
14. Defendant Noah Transport’s Notice of Removal is timely and procedurally
correct.
15. Attached hereto as Exhibit “A” and filed herewith are copies of all process,
pleadings, and orders served on Defendant in connection with the State court
proceeding, a copy of the State Court’s file, an index of matters being filed, and a list of

all counsel of record, as required by 28 U.S.C. § 1446(3) and Local Rule 81.

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16. Venue is proper in this district under 28 U.S.C. § 1441(a) because this district
and division embrace the place in which the removed action has been pending.
17. Defendant shall promptly give written notice of the filing of this Notice of Removal
to Plaintiff’s attorney of record and file a copy of this Notice of Removal with the clerk of
the District Court of Harris County, Texas, in which the removed action has been
pending.

WHEREFORE, PREl\/llSES CONS|DERED, Noah’s Transport, L.L.C. prays that
this Court assume full jurisdiction of this action as if it had been originally filed in this

court and that all further proceedings in the State court be stayed

Respectfully submitted,
DONATO, MlNX, BROWN & POOL. PC

/s/ Roben‘ Brown

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AND JUAN GOMEZ

 

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CERT|FICATE OF SERV|CE

l hereby certify that on December 7, 2015, a copy of the foregoing Notice of
Removal was filed electronically with the Clerk of Court using the ClVl/ECF system.
Notice of this filing will be sent to all counsel of record by operation of the Court’s
electronic system and/or facsimile transmission.

 

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/s/ Robert Brown
Robert D. Brown

 

